foe =

UNITED STATES DISTRICT court
MIDDLE DISTRICT OF TENNESSEE

 

CS LS AM BE 12

 

Jonah Phillips EL

C/O <MailingLocation>
Nashville, Tennessee Territory
Tennessee State Republic
[Postal Zone 8]

gizzalphillips@gmail.com
9312206251

LEGAL NOTICE OF REMOVAL
FROM MUNICIPAL COURT TO FEDERAL COURT
PURSUANT TO TITLE 28 § 1441- §1446
PROPER ARTICLE III JURISDICTION

03-28 0717

Plaintiff(s),

The Court of General Sessions of Davidson County

State of Tennessee

Officer Kaytlin M Huyler Metropolitan Nashville Police Department
Officer Binkley Graham Metropolitan Nashville Police Department
County of Davidson

ORIGINAL JURISDICTION
“MINISTERSCONSULS
DIPLOMATS”

Article III, Section 2; Article VI
United States Republic Constitution
Treaty of Peace and Friendship

‘Established Law of the Land’

Federal Question(s):
Constitution, Treaty;
Religious Liberty;
Due Process;
Substantive Rights of Travel, etc.,
Supreme Court Rulings

Jonah Phillips El, A Natural Person, In Propria Persona, Sui Juris (not to be confused with nor substituted with
Pro Se); and not a Statutory Person.

Petitioner / Alleged Accused,

(Hereinafter Petitioner)

Official Notice is hereby served on the STATE OF TENNESSEE GENERAL SESSIONS COURT OF
DAVIDSON COUNTY; all Judicial Sub-Divisions; Officials; Agents; and above named Plaintiff-all cases
and Jurisdiction / Venué moved to Federal Court, All Matters, Complaints, Traffic Tickets / Suits,
Citations / Bills of Exchange (misrepresented as lawful warrants, etc.), must be filed with Federal Court,

pursuant to Jurisdiction named hereinafter.

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I.

JURISDICTION

Jurisdiction / Venue are hereby placed in one Supreme Court, pursuant to Article III Section 2 for The
United States Republic, and the several States, under the Constitution; Article VI; and reaffirmed by
obligatory Official Oaths.

“The Judicial Power shall extend to all cases, in law and equity, arising under this Constitution, the laws
of the United States, and treaties made, or which shall be made, under their authority;--to all cases affecting
ambassadors, other public ministers and consuls; --to all cases of admiralty and maritime jurisdictions;--
to controversies to which the United States shall be a party;--to controversies between two or more states:-
-between a state and citizens of another state;--between citizens of different states;--between citizens of
the same state claiming lands under grants of different states, and between a state, or the citizens thereof,
and foreign states, citizens or subjects.”

In all cases affecting ambassadors, other public ministers and consuls, and those in which a state shall be
a party, the Supreme Court shall have original jurisdiction. In all the other cases before mentioned, the
Supreme Court shall have appellate jurisdiction, both as to law and fact, with such exceptions, and under
such regulations as the Congress shall make.

COMES NOW, Jonah Phillips El, In Propria Persona, Sui Juris (not to be confused with Pro se), Aboriginal
Indigenous Moorish-American; possessing Free-hold by Inheritance status; standing squarely affirmed and
bound to the Zodiac Constitution, with all due respect and honors given to the Constitution for the United
States Republic, North America. Being a descendant of Moroccans and born in America, with the blood of
the Ancient Moabites from the Land of Moab, who received permission from the Pharaohs of Egypt to settle
and inhabit North-West Africa / North Gate, The Moors are the founders and are the true possessors of the
present Moroccan Empire; with our Canaanite, Hittite and Amorite brethren, who sojourned from the land
of Canaan, seeking new homes. Our dominion and inhabitation extended from Northeast and Southwest
Africa, across the Great Atlantis, even unto the present North, South and Central America and the Adjoining
Islands-bound squarely affirmed to THE TREATY OF PEACE AND FRIENDSHIP OF SEVENTEEN
HUNDRED AND EIGHTY-SEVEN (1787) A.D. superseded by THE TREATY OF PEACE AND
FRIENDSHIP OF EIGHTTEEN HUNDRED and THIRTY-SIX (1836) A.D. between Morocco and the
United States (http://www. yvale.edu/Aawweb/avalon/diplomacy/barbary/bar1866t.htm or at Bevines Law
Book of Treaties) the same as displayed under Treaty Law, Obligation, Authority as expressed in Article VI
ofthe Constitution for the United States of America (Republic):

THE TREATY OF PEACE AND FRIENDSHIP OF 1836 A.D.
Between Morocco and the United States

Article 20
“Tf any of the Citizens of the United States, or any Persons under their Protection, shall have any disputes
with each other, the Consul shall decide between the Parties. and whenever the Consul shall require any
Aid or Assistance from our Government, to enforce his decisions, it shall be immediately granted to him.”

Article 21
“Tf any Citizen of the United States should kill or wound a Moor, or, on the contrary, if a Moor shall kill
or wound a Citizen of the United States, the Law of the Country shall take place, and equal Justice shall
be rendered, the Consul assisting at the Trial: and if any Delinquent shall make his escape. the Consul

shall not be answerable for him in any manner whatever.”
tl

PARTIES
Plaintiffs

1. STATE OF TENNESSEE GENERAL SESSIONS COURT OF DAVIDSON COUNTY, private
corporation; foreign to the United States Republic; and all TENNESSEE CITY Employees; Agents;
Officers; Contractors; Assignees, etc., being Plaintiffs, Claimants, or Parties of Interest in the ‘Color-of-
Law’ processes instituted by them, or any one of them, against Jonah Phillips El.

2, Kaytlin M Huyler, officer of the METROPOLITAN NASHVILEE POLICE DEPARTMENT,
private corporation, foreign to the United States Republic; and foreign to the organic Tennessee
Republic.

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3. Court Administer for the STATE OF TENNESSEE GENERAL SESSIONS COURT, private
corporation foreign to the United States Republic; and foreign to the organic Tennessee Republic.

4, STATE OF TENNESSEE, corporation established in the year SEVENTEEN NINETY-SIX
(1796), foreign to the organic Pennsylvania state Republic; and foreign to the United States Republic of
North America.

Petitioner

Jonah Phillips El, In Propria Persona, Sui Juris (not to be confused with Pro se) Aboriginal, Indigenous
Moorish American National, C/O 810 177 AVE NORTH Apt#212, Nashville Territory, Tennessee
Republic [Postal Zone 8].

I, Jonah Phillips El, In Propria Persona, Sui Juris; Aboriginal, Indigenous Moorish American National,
Freehold by Inheritance with Birthrights and protected and secured Inalienable Rights, makes with this
NOTICE OF REMOVAL of the unconstitutional Complaint - Summons / Ticket — Suit / Bill of Exchange
/ Action, Number GS986995, GS986994, GS986993, GS986992. Petitioner is with reasonable expectation
that the Officers / Agents, and Officials, holding any position of Public Trust, or political office, are prohibited,
under Official Oath, under the authority of The Law of the Land, from the use of the official position(s) or office(s)
to violate the Constitution for the UNITED STATES OF AMERICA; and thus, by the abuse of authority, and the
practice of superseding their ‘limited’ jurisdictional powers, violate and abridge the Natural, Divine, Unalienable,
and Secured Rights of the People; terminating with the cause of damage to this Petitioner / Plaintiff.

Ti
CAUSE OF ACTION

The Petitioner / Jonah Phillips El, was searched, seized, and detained by Policeman / Prosecuting Witness(s),
Officer Kaytlin M Huyler, and Officer Binkley Graham; employed by the Metropolitan Nashville Police
Department who stated that Jonah Phillips El, was in violation of statute(s) 39-17-1307(c)*1; 39-13-102
which is private policy (being classed as law).

The STATE OF TENNESSEE GENERAL SESSIONS COURT OF DAVIDSON COUNTY is an
unconstitutional, private corporation, not delegated by Congress, under Article III, Section 2 of the
Constitution; and that the Officers does not, and did not provide ‘Due Process’ protected and secured for
the People, by the Amendments IV, V, VI, VII, VII, IX, and X of the United States Constitution, to which
the Judges and Officers in every State is bound (by Official Oath) to support and to uphold. Any statutory
regulation, ordinance, or laws of any State, to the contrary, notwithstanding.

This allegedly - accused Petitioner believes that in accord with the Substantive Rights retained by the
Petitioner, notifying all parties of the Petitioner’s Moorish American (Identification / Status) and that the
Petitioner was not, is not, and does not, waive any Inalienable Rights to due process; and affirmed that
any action be adjudicated in a lawfully delegated jurisdiction and venue.

The Officers of STATE OF TENNESSEE commanded that the Petitioner Pay Fines and Costs Imposed
under threat, duress, and coercion with a ‘man-of-straw’ / misnomer word, misrepresented as implying
my name, and typed upon the Order / Instrument, and was improperly spelled, “JONAH WENDELL
PHILLIPS UT” in ALL CAPITAL LETTERS. That misnomer and CORPORATE - NAME, “JONAH
WENDELL PHILLIPS IIT” is clearly (an artificial — person / entity); is not me, the Natural Person; is a
deliberate grammatical error, intended for injury to me; and is clearly not of consanguine relationship to
me or to my nationality, in any form, truth, or manner,; nor to my Moorish Family Bloodline. This is a in
violation of my secured rights to my name and nationality; a violation of International Law; and a violation
of the Obligations of the Officers of the Court; and a violation of their fiduciary duties and Official Oaths
to uphold and to support Article VI of the United States Constitution; and thus, violating my Substantive
Rights, and the Articles of Part 1 of ‘The Rights of Indigenous People’
(http://en.wikisource.org/wiki/Draft: United_Nations_Declaration_on_the _Rights_of_Indige...) as
follows:

‘Indigenous People have the right to a full and effective enjoyment of all human rights and fundamental

freedoms recognized in the Charter of the United Nations; The Universal Declaration of Human Rights:
And International Human Law.”

Article 5 of the Rights of Indigenous People

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‘Every Indigenous individual has the Right to a Nationality.”

Article 15 of the Declaration of Human Rights (http//www.un.org/Overview/rights. html)

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everyone has a right to a nationality. (2) No one shall be arbitrarily deprived of his nationality nor denied

the right to change his name.”

This Petitioner made a “Reservation of Rights” as stated on the ticket / summon / suit/ complaint No.
GS986995, GS986994, GS986993, GS986992 and signed for the record; name, correct spelling of name.

Plaintiff Officer(s) Kaytlin M Huyler/Binkley Graham is with the ‘want of jurisdiction’ by
knowingly and willingly conspiring (under a Color-of- Authority) to deny this Petitioner, Jonah
Phillips El , (after this Petitioner made a reservation of rights and stating for the record; name,
correct spelling of name, and national status) his Inalienable Rights, the right to a Name and
Nationality of his choosing, etc. The State / Judge / Accuser(s) alleged and assumed the
Petitioner of being a Corporate Ward-ship 14th Amendment Artificial Negro Person / citizen,
which resulted in an unlawful arrest-of-rights, immunities and liberties; which is in direct
contradiction to, and a violation of, the Fourth (V) Amendment of the Constitution for the
United States (Republic); violating Article VI of the Constitution, by way of violating The Treaty
of Peace and Friendship of EIGHTEEN HUNDRED-THRITY-SIX (1836) A.D.; Congressional
Resolution # 75, Philadelphia Pennsylvania; a violation of Article 15 of ‘The Universal
Declaration of Human Rights’ of Nineteen Hundred and Forty-Eight (1948) A.D. — General
Assembly, United Nations; a violation of ‘The Declaration of the Rights of The Child’ of
Nineteen Hundred and Fifty-Nine(1959)
A.D(http:/Avww.un.org/cyberschoolbus/humanrights/resources/child.asp); and violating
‘The Rights of Indigenous Peoples’; and that the Officers of THE STATE OF TENNESSEE
knowingly committed ‘fraud’ against the Petitioner (Jonah Phillips El) by abusing their
authority, in that they failed to correct a known violation; and did not aid in preventing said such
abuse of authority, while having (by law) the obligation to do so; and violated the Fifth
Amendment of The Bill of Rights of Seventeen Hundred and Ninety-One (1791) A.D.; impeding
the Peoples’ right to due process under the Law, and equal protection of the Law, Article 1
Section 10 of The Constitution for The United States of America (Republic) which secures this
Petitioner the right to contract and conspiracy to commit fraud against this Petitioner and against
the United States Republic.

IV
CONCLUSION

1) It is a sin for any group of people to violate the Constitutional Laws of a Free National
Government.

2) The Delegates, which comprise the majority of Aboriginal and Indigenous Freeholders, by
Birthright, Inheritance, and Primogeniture, and declared ‘for the record’ and known by the consanguine /
Pedigree of their / our Forefathers, as Moors / Muurs; and the European Colonial Settlers of the United
States of America, did, on the fifteenth day of November in the year Seventeen Seventy-seven (1777), and
in the second year of the Independence of The United States of America, agreed to certain Articles of
Confederation and perpetual Union between the States of New Hampshire, Massachusetts Bay,
Rhode Island, and Providence Plantations, Connecticut, New York, New Jersey, Pennsylvania, Delaware,
Maryland, Virginia, North Carolina, South Carolina and Georgia; wherein they did declare that the style
of the Confederacy shall be the United States of America.

3) All parties to the Articles of Confederation of 1778 did also agree that Article LX shall set forth the
procedure for resolving a dispute brought before the Congress of the United States by a freely associated
compact State of the United States of America.

4) All parties to the Articles of Confederation of 1778 did also agree that no Congress shall thereafter
alter Article LX of the Articles of Confederation unless it has received confirmation to do so by every State
in the Union (Article XT of the Articles of Confederation).

5) The United States, pursuant to an "Act" of the States sitting in Congress under the Articles of
Confederation of Seventeen Hundred and Seventy-Eight (1778) A.D., authorized a Constitutional
Convention for the purpose of forming a more perfect Union, to establish justice, to insure domestic
tranquility, to provide for the common defense, to promote general welfare, and to secure the blessings of
liberty, did ordain and established a Constitution for the United States. The Constitution for the United
States was declared to be a "revision" to the Articles of Confederation of 1778 (REPORT OF
PROCEEDINGS IN CONGRESS, Wed., Feb.21, 1787 [Journals of the Continental Congress, vol. 38}).

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6) The Constitution for the United States was established by the People of the United States of
America, and not by the States in their sovereign capacity (In reg Opinion of the Justices, 107 A. 673, 674,
118 Me. 544, 5 A.L.R. 1412) and was ratified by the People sitting in Convention of the Original 13 States
of the United States of America (United States Constitution, VII: 1:1).

7) The Constitution for the United States is a Compact which constitutes a binding trilateral Contract
between the People, the freely associated compact States of the United States of America, and the United
States [e.g. Article 10 of the Bill of Rights to the Constitution of the United States] (In reg Opinion of the
Justices, 107 A, 673, 674, 118 Me. 544, 5A.L.R. 1412),

8) By the wording of Article VI of the Constitution for the United States, the Congress is required to
review its legislation from time to time to determine if the legislation was made pursuant to the provisions
of that Constitution.

9) The parties to the Compact of the United States Constitution further agreed that the enumeration
in the Constitution of certain Rights shall not be construed to deny or disparage others retained by the
People (Article 9 of the Bill of Rights to the Constitution for the United States).

10) The parties to the Compact also agreed that the Powers not delegated to the United States under
the U.S. Constitution are reserved to the States or to the People (Article 10 of the Bill of Rights to the
Constitution for the United States).

11) On February 24, 1855; the Congress of the United States created the United States Court of Claims.
The Court of Claims was authorized to execute the mandates of Article LX of the Articles of Confederation
of 1778 and Article I of the Bill of Rights to the Constitution for the United States (10 Stat. 612, sec. 1,

sec. 7)

12) The Congress of the United States also enacted the "Bowman Act" of March 3, 1883 (22 Stat. 485)
and the "Tucker Act" of March 3, 1887 (24 Stat. 505) to clarify the jurisdiction of the Court of Claims.
Under these Acts, either House of Congress may submit any claim or matter to the United States Court of
Claims for investigation and determination of facts. The Court was to report its findings back to Congress
for Congressional determination.

13) Notwithstanding the limitations imposed upon the United States Claims Court by P.L. 97-764 and
its subsequent United States Court of Federal Claims by P.L. 102-572; the Congress of the United States
is barred by Article LX and Article XIII of the Articles of Confederation and by Article I of the Bill of Rights
to the Constitution for the United States to limit its investigations to moneyed claims.

14) The continua! refusal of the United States Congress to resolve the Petitions of Grievances that
were submitted to it, by the several States of the Union, violates the "Good Faith" agreement that all
grievances submitted would be expeditiously resolved as mandated by the Articles of Confederation of
1778,

15) Between the years of 1866 and 1868 (and other years); several states within the United States
known as "States" submitted Petitions to the Congress of the United States for Redress of Grievances.
These Petitions have passed from Congress to Congress for over one hundred years, with the Congress
refusing to take any action to resolve the disputes as required by Article LX of the Articles of Confederation
of 1778 and Article I of the Bill of Rights to the Constitution for the United States. These Petitions
challenged the procedure by which the Congress used to amend the Constitution for the United States.
The Amendments in question are the unlawfully - ratified 13", 14 and 15th Amendments (hereinafter
referred to as the “Three Dead Badges of Law”).

16) “No change in ancient procedure can be made which disrupts those fundamental principles, which
protect the citizen in his private right and guard him against the arbitrary action of the government.” Ex
Parte Young, 209 US 123.

17) The Constitution for the United States of America binds all judicial officers at Article 6, wherein
it does say, “This Constitution and the Laws of the United States which shall be made in pursuance thereof,
and all Treaties made, or which shall be made under the authority of the United States, shall be the
Supreme Law of the Land, and the Judges of every State shall be bound thereby, anything in the
Constitution or laws of any state to the Contrary, not withstanding,” see Clause 2.

18) — Black’s Law Dictionary 4" Ed. Defines “Law of the land”, - When first used in Magna Charta, the
phrase probably meant the established law of the kingdom, in opposition to the civil or Roman law. It is
now generally regarded as meaning general public laws binding on all members of the community. Janes
v. Reynolds, 2 Tex 251; Beasley v. Cunningham, 171 Tenn. 334. 103 S.W.2d 18, 20110 ALL.R. 306. It
means due process of law warranted by the constitution, by the common law adopted by the constitution,

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or by statutes passed in pursuance of the constitution Mayo v. Wilson, 1 N.H. 53.

19) Clause 3, clarifies the scope of this requirement when it states that “... All judicial officers, both
of the United States and of the several states shall be bound to support this Constitution...”

20) The 5" Amendments require that all persons within the United States must be given due process
of the law and equal protection of the law.

21) The unconstitutional charges being applied to this Petitioner are not in pursuance of the
Constitution for the United States of America, wherein it does guarantee, and this Petitioner does declare
the equal protection of the right to “life liberty and the pursuit of happiness” in the 1* Amendment, which
includes the right to travel as evidenced in positive law and_stare decisis, to wit; Chicago Motor Coach v.
Chicago 169 NE 221 “ the use of the highways for the purpose of travel and transportation is not a mere
privilege, but a common fundamental right of which the public and individuals cannot rightfully be
deprived”; Teche Lines v. Danforth, Miss. 12 So 2"! 784, 787 “the right to travel on the public highways
is a constitutional right”, Slusher v. Safety Coach Transit Co., 229 KY 731, 17 SW 2D 1012, affirmed in
Thompson v. Smith 154 S.E. 579 — “The right to travel_upon_the public highways and transport my
property thereon, by automobile is not a mere privilege, which may be permitted or prohibited at will, but
a common right which one has to life, liberty and the pursuit of happiness” and the State’s application of
625 ILCS 5/et seq is “notwithstanding”, Article VI cl.2 Ibid.

22) — The Petitioner claims full and equal protection of the Law in Marbury v. Madison 5 US 137-—“The
Constitution of these United States is the Supreme Law of the Land. Any law, that is repugnant to the
Constitution, is null and void of law.”

23) The unconstitutional charges being applied to the Petitioner are repugnant to the Constitution
because they deny a right established and guaranteed in the 1% “th 5 6th, 71h, &th, 9th, and 10th_A mendments, and
in United States Supreme Court ‘Stare Decisis’ so noted above, where this court has no authority to
adjudicate contrary.

24) The unconstitutional charges under which the Petitioner is being forced to answer are non-
constitutional on their face and unconstitutional when applied to the Petitioner_because they do not have
an enacting clause or single subject title, thereby denying due process of law.

25) Due Process of law is not necessarily satisfied by any process which the Legislature may prescribe.
See: Abrams v. Jones 35 Idaho 532, 207 P. 724.

26) “Due Process of Law in each particular case means such an exercise of the powers of the
government as the settled maxims of law permit and sanction; and under such safeguards for the protection
of individual rights as those maxims prescribe for the class of cases to which the one in question belongs.”
Cooley, Const. Lim. 441.

27) Due Process as defined in H. C. Black’s Law Dictionary, 4" Edition. “ Whatever difficulty may
be experienced in giving to those terms a definition which will embrace every permissible exertion of
power affecting private rights, and exclude such as is forbidden, there can be no doubt of their meaning
when applied to judicial proceedings. They then mean a course of legal proceedings according to those
rules and principles, which have been established in our systems of jurisprudence for the enforcement and
protection of private rights.”

28) “To give such proceedings any validity, there must be a tribunal competent by its constitution-—
that is by the law of its creation—to pass upon the subject-matter of the suit; and if that involves merely a
determination of the personal liability of the defendant, he must be brought within its jurisdiction obey
service of process within the state or his voluntary appearance. Pennoyer v. Neff, 95 U.S. 733, 24 LEd.
565.”

29) “Due process of law implies the right of the person affected thereby to be present before the
tribunal which pronounces judgment upon the question of life liberty, or property, in its most
comprehensive sense; to be heard, by testimony or otherwise, and to have the right of controverting, by
proof, every material fact which bears on the question of right in the matter involved.”

30) “If any question of fact or liability be conclusively presumed against him, this is not due process
of law, Zeigler v. Railroad Co., 58 Ala, 599.

31) These phrases in the Constitution do not mean the general body of the law, common and statute,
as it was at the time the Constitution took effect; for that would seem to deny the right of the Legislature

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to amend or repeal the law. They refer to certain fundamental rights which that system of jurisprudence,
of which ours is a derivative, has always recognized. Brown v. Levee Com’rs 50 Miss. 468.”

32) All orders or judgments issued by a judge in a court of limited jurisdiction must contain the
findings of the court showing that the court has subject-matter jurisdiction, not allegations that the court
has jurisdiction. In re Jennings, 68 Ill.2d 125, 368 N.E.2d 864 (1977) (“in a special statutory proceeding
an order must contain the jurisdictional findings prescribed by statute.")

33) In Interest of M.V., 288 Ill. App.3d 300, 681 N.E.2d 532 (Ist Dist. 1997). Without subject-matter
jurisdiction, all of the orders and judgments issued by a judge are void under law, and are of no legal force
or effect. In Interest of M.V., 288 Ill App.3d 300, 681 N.E.2d 532 (1st Dist. 1997) ("Every act of the court
beyond that power is void").

34) The Petitioner assert, Midland Coal Co. v. Knox County, 268 Ill. App.3d 485, 644 N.E.2d 796 (4th
Dist. 1994) ("Special statutory jurisdiction is limited to the language of the act conferring it, and the court
has no powers from any other source”...)

35) The “language of the act” the complainants confer upon “has no powers from any other source”
Midland Coal Co. v. Knox County, Ibid, no evidence on it’s face of valid law, as it lacks the mandatory
enacting clause,

36) That the purpose of thus prescribing an enacting clause — “the style of the acts" — is to establish
it, to give it permanence, uniformity, and certainty; to identify the act of legislation as of the general
assembly; to afford evidence of its legislative statutory nature; and to secure uniformity of identification,
and thus prevent inadvertence, possibly mistake and fraud. State v. Patterson, 4 S.E. 350, 352, 98 N.C.
660 (1887), 82 C.J.S. "Statutes," § 65, p. 104; Joiner v. State, 155 S.E.2d 8, 10, 223 Ga. 367 (1967).

37) “That the almost unbroken custom of centuries has been to preface laws with a statement in some
form declaring the enacting authority. The purpose of an enacting clause of a statute is fo ‘identify’ it as
an act of legislation by expressing on its face the authority behind the act.” 73 Am. Jur.2d, "Statutes," §
93, p. 319, 320; Preckel v. Byrne, 243 N.W. 823, 826, 62 N.D. 356 (1932).

38) That for an enacting clause to appear on the face of a law, it must be recorded or published with
the law so that the People can readily identify the authority for that particular law.

39) That “It is necessary that every law should show on its face the authority by which it is adopted
and promulgated, and that it should clearly appear that it is intended by the legislative power that enacts
it that it should take effect as a law.” People v. Dettenthaler, 77 N.W. 450, 451, 118 Mich. 595 (1898):
citing Swann v. Buck, 40 Miss. 270.

40) This Plaintiff (a court of limited jurisdiction), lacks the power to act and have proceeded beyond
the strictures of the statutes, and that the statutes being applied are created from revised statutes and codes
ofa foreign and unidentified source, as they fail to show from what authority in law they exist, where they
fail to show on their face, the mandatory enacting clause.

41) Said revised statutes and codes fail to show a necessary and mandatory enacting clause on their
face, giving them lawful force and effect. Said revised statutes and codes are private codes and statutes
and are not law, do not compel this Petitioner to perform and do not apply to him, and fail to show
“authority for the court to make any order.” Levy. Industrial Common Ibid, Midland Coal Co. v. Knox
County, Ibid.

42) The Petitioner, demand all rights under the common law based upon the status as a matter of due
process of law and to determine what legal rights the Petitioner has in this court and what rights will be
denied, if any, to determine what jurisdiction the Plaintiff is attempting to apply to this Natural Born
Citizen.

43) The Petitioner is not subject to the jurisdiction of this Plaintiff.

44) This Petitioner has no contract with TENNESSEE GENERAL SESSIONS COURT OF
DAVIDSON COUNTY, or with the State of Tennessee; or with any other segment of the United States
of America that can grant jurisdiction over human rights; or over political, economic, social and cultural
rights of Indigenous Peoples.

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45) The Petitioner is Aboriginal / Indigenous within the meaning of the description of the Draft
Declaration of the Inter-American Declaration of the Rights of Indigenous Peoples at Article 1 Definition:

46) “In this Declaration Indigenous Peoples are those who embody historical continuity with societies
which existed prior to the conquest and settlement of their territories by Europeans...”

47) Indigenous People are separate and distinct; alien to this administration; and have a separate and
distinct status from the administrators of the colonial occupiers of the land; as recognized in the
Declaration on Principles of International Law of Friendly Relations and Cooperation Among States;
wherein it does say under the Principles of Equal Rights and self determination of Peoples (BS): “The
territory of a colony or other Non-Self Governing Territory has, under the Charter, a status separate and
distinct from the territory of the State administering it...”

48) Colonial legislatures were divested of their legislative powers, and required to transfer jurisdiction
and all powers over the cultural rights of indigenous and minority peoples to those peoples and prohibited
from making any law that effects the rights of indigenous people to fully and effectively enjoy their right
to self-determination in Article 5 of the Declaration on the Granting of Independence to Colonial Countries
and Peoples, Adopted by General Assembly resolution 1514 (XV) of 14 December 1960. See Article 5 to
wit: “Immediate steps shall be taken, in Trust and Non-Self Governing Territories or all other territories
which have not yet attained independence, to transfer all powers to the peoples of those territories, without
any conditions or reservations, in accordance with their freely expressed will and desire...”

49) Colonial courts were divested of, and required to, transfer the judicative power and all power to
the people of this territory, ibid.

50) See ‘The American Declaration of the Rights and Duties of Man’ (Adopted by the Ninth
International Conference of American States Bogota, Colombia, 1948 at Article 5, Article 17, Article 26)

51) The United States of America is required to obey the requirements of the Declaration on the
Principles of International Law and to obey the principles of international Jaw enumerated therein.

52) The Vienna Convention on the Law of Treaties requires that the United States of America fulfill
its obligations incurred thereunder.

53) The United States of America is a member of the United Nations, and is bound by the Charter of
the United Nations to promote and protect the Rights of Indigenous Peoples.

54) — The Declaration of the Granting of Independence to Colonial Countries and People UN GA #1514
specifically required the United States of America to transfer a// power to the peoples of this land, and
this specifically includes all legislative, executive and judicial powers.

. 55) The State of Tennessee through its commercial agencies, on the Drivers License, and other
misrepresented Instruments, has committed ‘fraud’ to accomplish what is called in legal contemplation,
“Capitis Diminutio Maxima”, which is that my natural name has been murdered and I was resurrected as -
a non-natural, created entity subject to regulation and denied the protections of national and international
law. This constitutes Fraud and denies due process of the law and the Freedom from the Practices and
Policies of Apartheid described in the International Convention on the Suppression and Punishment of the
Crime of Apartheid Adopted and opened for signature, ratification by General Assembly resolution 3068
(XXVIID of 30 November 1973 at Articles1, 2 and 3, and the right not to be compelled to perform under
any contract or agreement not entered into voluntarily, intentionally and knowingly.

56) Executive Order Number: 13107, 63, Federal Register, 68,991 (1998)- Implementation of
Human Rights Treaties, which states “It shall be the policy and practice of the Government of the United
States, being committed to the protection and promotion of human rights and fundamental freedoms, fully
to respect and implement its obligations under the international human rights treaties to which it is a party
including the ICCPR, the CAT and the CERD.”. GENERAL SESSIONS COURT DAVIDSON
COUNTY, by way of its Officers, violated ‘Due Process’ and, conspired to deprive rights of the Petitioner;
and did neglect to prevent deprivation of rights at Title 18, U.S.C. 241 and Title 18, U.S.C. 242.

57) Maine v. Thiboutot 448 US 1, 100 SCT 2502 — Officers of the court have no immunity, when
violating a constitutional right from liability. For they are deemed to know the law.

58) Note that the presiding judge, and any judge acting as organ of the court, is aware that 42 USC

1986 requires the person(s) adjudicating legal processes, to correct wrongs, and that their failure to correct

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the wrongs that were addressed constitutes Fraud under Rule 9(b) of the FRCP, cross referenced to 28
USC 1746, and that this Fraud constitutes a Perjury on the Oath of Office at 18 USC 1621, deprives us of
rights, at 18 USC 241, and 242, Conspires to deprives rights at 42 USC 1985; is an extortion of rights at
18 USC 872, and is actionable under 42 USC 1983.

59) Judicial officers have no immunity when they have no jurisdiction over subject matter.

60) This court shall take mandatory Judicial Notice of the adjudged decision of the Supreme Court of
the United States of Bradley v Fisher 80 U.S. 335 (1871), 351,352 that officers of the court have no
immunity when they have no jurisdiction over the subject-matter. And further in Bradley v Fisher on page
352 and 352 is as follows:
"Where there is clearly no jurisdiction over the subject matter any authority exercised is a usurped
authority, and for the exercise of such authority, when the want of jurisdiction is known to the judge, no
excuse is permissible." This evidence of Bradley v Fisher 80 U.S. 335 (1871).

61) Either subject-matter jurisdiction exists, or it doesn't. Subject-matter jurisdiction has been denied,
it must be proved by the party claiming that the court has subject-matter jurisdiction as to all of the
requisite elements of subject-matter jurisdiction

62) “The use of the highways for the purpose of travel and transportation is not a mere privilege, but

a common and fundamental Right of which the public and the individual cannot be rightfully deprived.”

— Chicago Motor Coach ys. Chicago, 169 NE 22; Ligare vs. Chicago, 28 NE 934; Boon vs. Clark, 214
- SSW 607; 25 Am. Jur. (1) Highways Sect. 163.

63) “The right of a citizen (or others similarly situated) to travel upon the public highways and to
transport his property thereon, by horse-drawn carriage, wagon, or automobile is not a mere privilege
which may be permitted or prohibited at will, but a common right which he has under his right to life,
liberty, and the pursuit of happiness.” — Slusher v. Safety Coac Transit Co. 229 Ky 731, 17 SW2d 1012,
affirmed by the Supreme Court in Thompson v. Smith 154 S.E. 579. (emphasis added)

64) “The right to Travel; The right to Mode of Conveyance; The Right to Locomotion are
all absolute Rights, and the Police cannot make void the exercise of rights. State v. Armstead, 60
s. 778, 779, and 781”

65) “The right to Park or Travel is part of the Liberty of which the Natural Person and
citizen cannot be deprived without “due process of Law” under the fifth Amendment of the
United States Constitution. Kent v. Dulles 357 US 116, 125:”

66) “State Police Power extend only to immediate threats to public safety, health, welfare,
etc., Michigan v. Duke 266 US, 476 LED. At 449:”

67) “Traveling in an automobile on the public roads was not a threat to the public safety or
health and constituted no hazard to the public, and such traveler owed nothing more than “due
care” (as regards to tort for negligence) to the public and the owner owed no other duty to the
public (eg. State), he / she and his / her auto, having equal rights to and on the roadways /
highways as horse and wagons, etc.; this same right is still substantive rule, in that speeding,
running stop signs, and traveling without license plates, or registration are not threat to the public
safety, and thus, are not arrestable offenses. Christy v. Elliot, 216 1 131, 74 HE 1035, LRA NS
1905 — 1910: California v. Farley 98 CED Rpt/ 89, 20 CA 3 1032 (1971)”

68) “Where rights secured by the Constitution are involved, there can be no rule-making or
legislation, which would abrogate them. Maranda v. Arizona 384 US 4336, 125:”

69) “The claim and exercise of Constitutional Rights cannot be converted into a crime.
Miller v. Kansas 230 F 2" 486, 489:”

70) “For crime to exist, there must be an injured party (Corpus Delicti) There can be no
sanction or penalty imposed on one because of this Constitutional right. Serer v. Cullen 481 F.
945:”

71) “If any Tribunal (court) finds absence of proof of jurisdiction over a person and subject

matter, the case must be dismissed. Louisville v. Motley 2111 US 149, 29S. CT. 42. “The
Accuser Bears the Burden of Proof Beyond a Reasonable Doubt.”

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72) “In light of my status the complaint against me must be brought before an Article II
court as per the rules governing the Treaty of Peace and Friendship of 1787.”

Therefore in accord with the official oath of the officers of this court et al that all fraudulently
presented improperly serviced instruments as per bill of exchange / suits / ticket / complaint #
GS986995. GS986994, GS986993, GS986992 be dismissed, discredited and expunged from the
record, etc.

73) “Lack of Federal Jurisdiction can not be waived or overcome by agreement of parties”.
Griffin v. Matthews, 310 F supra 341, 342 (1969): “

74) “Want of Jurisdiction may not be cured by consent of parties”> Industrial Addition
Association v. C.LR., 323 US 310, 313.”

75) “In Supreme Court case Murdock v. Penn. 319 US 105
“No state shall convert a liberty into a privilege, license it, and attach a fee to it”.

76) See also; Shuttlesworth v. Birmingham 373 US 26
“Tf the state converts a liberty into a privilege, the citizen can engage in the right with impunity.”

77) “Petitioner asserts “Where rights secured by the Constitution are involved, there can be no rule
making or legislation, which would abrogate them” Miranda v. Arizona 384 U.S. 436, 491.

78) “An unconstitutional statute has been held to confer no authority on, and to afford no protection to,
an officer acting thereunder.” Also, “Officers cannot be punished for refusing to obey unconstitutional
statute.” (CJS 16, sec. 101, p. 479) “Such laws are in legal contemplation, as inoperative as though ’ they
had never been passed or as if the enactment had never been written, and are regarded as invalid or void
from the date of enactment, and not only from the date on which it is judicially declared unconstitutional.
Such a law generally binds no one, confers no rights, affords No Protections, and imposes no duties, and
compliance therewith is unnecessary.” (CJS 16, p. 469).

79) “No one is bound to obey an unconstitutional law and no courts are bound to enforce it.” — 16 Am
Juris 2"? Sec 177 late 2d, Sec 256,

82) “The State cannot diminish rights of the People.” — Hurtado v. California, 110 U.S. 516

82) “The state is a people and not the created form of government.” — Texas v. White, 7 Wallace,
700-74.

82) “The individual may stand upon constitutional rights. He is entitled to carry on his private

business in his own way. His power to contract is unlimited. He owes no duty to the state or to
his neighbors to divulge his business or to open his door to an investigation, so far as it may
tend to incriminate him. He owes no such duty or the state, since he receives nothing therefrom,
beyond the protection of his life and property. His rights are such as existed by the Law of the
Land, long antecedent to the organization of the state... He owes nothing to the public so long
as he does not trespass upon their rights.” Hale v. Henkel, 201 U.S. 43 (1905).

83) “The makers of the Constitution conferred, as against the government, the Right to be let alone; the
most comprehensive of rights, and the right most valued by civilized men.” — United States Supreme Court
Justice Brandeis in Olmstead v. Unites States (1928).

84) Based on customary international laws, the 5 Amendment of the Constitution for the United States
of America, which guarantees due process of the law and Article IV of same Constitution Section 1; Full
Faith and Credit shall be given in each State to the public Acts, Records and judicial proceedings of every
other state...

85) No person shall be denied the enjoyment of any civil or military right, nor be discriminated against
in the exercise of any civil or military right, nor be segregated in the militia or in the public schools,
because of religious principles, race, color, ancestry or national origin...

Vv
RELIEF

1. The Enforcement of the following: The Divine Constitution and By-Laws of the Moorish
Science Temple of America; The Moorish Nation of North America; Act VI: By Being Moorish

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American, you are Part and Parcel of this said government and Must Live the Life Accordingly; Article
VI of the United States Constitution Republic / The Treaty of Peace and Friendship of EIGHTEEN
HUNDRED and THIRTY-SIX (1836) A.D., Classifies Moorish Americans as Federal Citizens
Possessing Freehold by Inheritance Status-Truth A-1. See Article 3, Section 2 of ‘The Constitution for
the United States of America’.

1) I, Jonah Phillips El, demand Due Process as protected by the Fourth (4") and Fifth (5")
Amendments of the Constitution for the United States of America (Republic).

2) I, Jonah Phillips El , demand this United States Supreme Court stop these abuses of the
colorable authority by the Plaintiff as it pertain to this Petitioner,

3) I, Jonah Phillips El, demand if any criminal charges be found, let them be placed upon the
Plaintiffs.

4) I, Jonah Phillips El, demand this United States Supreme Court view this Petitioner (in my

Proper Person) as a Moorish American National (Natural Born Citizen of the Land) and not as a (brand)
NEGRO, BLACKMAN (person), COLORED, AFRICAN-AMERICAN, or any other SLAVE TITLE or
‘nom de guerre’ imposed upon me for misrepresentation ‘Actions’ or other acts of ‘Misprision’ that a
misdirected society may “believe” to be true.

5) I, Jonah Phillips El do not, under any condition or circumstance, by threat, duress, or
coercion, waive any rights Inalienable or Secured by the Constitution or Treaty, and, hereby requests the
United States Supreme Court to fulfill their obligation to preserve the rights of this Petitioner (A Moorish
Americans) and carry out their Judicial Duty in ‘Good Faith’ by ordering Plaintiff to be brought before
the Law to answer for their criminal and unjust actions.

6) All UNCONSTITUTIONAL Citations — Summons / Ticket — Suit / (misrepresented)
Bill of Exchange: Number GS986995. GS986994. GS986993, GS986992, and any other ‘Order’ or
‘Action’ associated with it / them, to be dismissed and expunged for the record on it’s face and merits; or,
otherwise, be brought before a legitimately - delegated, and competent ‘Court of Law’ of International
jurisdiction / venue.

7) All City, County and State Officials are to be informed of the Law of the Land
(Constitution) and their obligation to uphold the same and to no longer be excused without action on the
part of the Sheriff for violating the same. And to be made cognizance of the recompense of colorable
actions on their part, by not adhering to the Law.

8) Any Plaintiff, Corporate or Natural, Party-Claimants; Involvements be found guilty of the
charges and shall result in immediate Recusal of Office.

9) Plaintiff STATE OF TENNESSEE is being sued for $75,000 for compensatory damages
and $75,000 for punitive damages in its official capacity.

10) Plaintiff STATE OF TENNESSEE GENERAL SEESIONS COURT OF DAVIDSON
COUNTY is being sued for $75,000 for compensatory damages and $75,000 for punitive damages in its
official capacity.

11) Plaintiff Policeman, Kaytlin M Huyler is being sued for $75,000 for compensatory
damages and $75,000 for punitive damages in his private capacity.

12) Plaintiff Policeman, Binkley Graham, is being sued for $75,000 for compensatory damages
and $75,000 for punitive damages in his private capacity.

13) Plaintiff STATE OF TENNESSEE COUNTY OF DAVIDSON is being sued for $75,000
for compensatory damages and $75,000 for punitive damages in its official capacity.

TRIAL BY JURY OF MY OWN PEERS WAS, AND IS, DEMANDED

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I declare under the penalty of perjury under the law of the UNITED STATES CODES that the above is
true and correct to the best of my knowledge and honorable intent.

Day 23, November, 2022 = 1442 M.C, with wth

ram__STonah= Wendel Philips HI peguae)

Authorized Representative Natural Person, In Propria Persona: Alt Rights Reserved, U.C.C. 1- S #308; U.C.C. 1-103

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

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Plaintif{(s), Case Number
v. Judge
Cow vt of G eyrer a | S544 ¥ Magistrate Judge
Defendant(s). )
(Type of Pleading)

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Case 3:23-cv-00717

 
 
     

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4. PHILLIPS EL

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Birthrights for the Moorish Americans, ¢l¢., We honar all the Divine Prophets, Jesus, Mohamsned,
Buddhs and Confuchus. May the blessings of the Gotl of Gur Father Allah, be open you that carry

Sateen

% this curd. Pde hereby declare that yau are 5 Moslem under the divine Laws of the Holy Keran of
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y “LAMA CITIZEN OF THE U.S.A”

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For the Claimant-Knowledge of this Live-Life is with this claim by this Claimant.

~1 For the knowledge of these facts are with the claim of this Live-life-man born
on~seventeenth-day~April-~year~1 986,

~2 For. these witness-knowledge of this live-life are with these claims of this live-lifebirth-
nativity in the city-~Nashville,-State~Tennessee ,-County~Davidson, is with witness by
the mother-party-by the name: Doretha-Mayberry: Whitfield/Jones, and by the

father: Jonah-Wendell: Phillips Jr,-~by their marriage-joinder.

~3 For the witness-knowledge of this live-life-claim are with the claim of this live-life-birth
with an authorization of these (2) two-witnesses-autographs.

~4 For the witness-knowledge of these facts are with this live-life-birth-claim with this
Correct-Sentence-Structure-Communications-Parse-Syntax-Grammar-Performance of
this Communications-Claim with this live-life-party.

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Notice of Special Appearance by Affidavit -

Challenge of jurisdiction under Title S USC 556(d)-fburden of proof is on the government. ]

Quaelibet Jurisdictio Cancellos Suos Habet
‘Every jurisdiction has its own limits.’ Jenk. Cent. Cas. 139.

“A special appearance is an appearance solely for the purpose of testing the jurisdiction,
Bailey v. Schrada, 34 Ind. 261; Huff v. Shepard, 58 Mo, 246

A special appearance is for the purpose of testing the sufficiency of service or the jurisdiction of the

court;
State v. Huller, 23 N.M. 306, 168 P. 528, 534, 1 A.L.R. 170.

neby-l Ay + EE
COMES NOW RESPONDENT/AFFIANT, 2 DenebyWerdells PAS r herein after called
"Respondent", in pro personam, NOT a pro se party with this Affidavit of Special Appearance.

Respondent is appearing before this court =P ecially, and not Al\V@ in Pro Per ("in one's own
proper person"), Sut Juris, Tosh g case oot iB uag HBL RAH, ? Shich is based on a traffic

citation from Dank ga County Shehdated -$hoq 2-02}. 6.5 486 4 Ss

This Special Appearance by Affidavit is for the purposes of challenging the court. b months
presumption and assumption of jurisdiction.

I hereby declare, reserve, claim and retain ALL rights and defects in process, I claim and reserve all of
my rights under UCC 1-308. I further declare that 1 am a Man and NOT a ‘legal fiction’. I am not a
member of the political or legal society over which the court has jurisdiction, and I do not agree to be

characterized as a legal ng

Jona Werdy/: Pius ifs ,am a living Man. is there a man or woman who has a claim against me?

1. Challenge Negates Jurisdiction
By this Affidavit, petitioner challenges the subject-matter and in personam jurisdiction of this court.

Therefore, this court now is without jurisdiction.

“The presumption that officials have done their duty is limited by the rule that a presumption cannot
be based upon a mere presumption, and will not supply proof of independent, substantive facts, such
as that a deficiency judgment was entered and docketed by the clerk of the court. "

Mahoney v Boise Title & T. Co. (1926) 116 Okla 202, 244 P170

Once jurisdiction is challenged, the court cannot proceed when it clearly appears that the court lacks
jurisdiction, the court has no authority to reach merits, but rather, should dismiss the action.

Melo v. US, 505 F2d 1026,

“Once jurisdiction is challenged it must be proven.”

Hagans v. Levine 415 US 533 note 3

The law requires proof of jurisdiction to appear on the record of the administrative agency and all
administrative proceedings.”

Hagans v Lavine, 415 U.S. 533.

“No sanction can be imposed absent proof of jurisdiction."
Stanard v. Olesen, 74s S.Ct. 708

“The law provides | that once State | Federal Jurisdiction has been challenged, it must be proven.”
Maine v. Thiboutot, 100 S. Ct. 2502 (1980)

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"Once challenged, jurisdiction cannot be assumed, it must be proved to exist.”
Stuck v. Medical Examiners, 94 CA2d 751.211 P2s 389

"The burden shifts to the court to prove jurisdiction."
Rosemond v, Lambert, 469 F2d 416.

“Court must prove on the record, all jurisdiction facts related to the jurisdiction asserted.” Lantana v.
Hopper, 102 F, 2d 188; Chicago v. New York 37 F Supp. 150

Jurisdiction, once challenged, is to be proven, not by the court, but by the party attempting to assert
jurisdiction. The burden of proof of jurisdiction Illes with the asserter. The court is only to rule on the

sufficiency of the proof tendered.
McNutt v. GMAC, 298 US 178. Origins found in Maxfield'’s Lessee v Levy, 4 US 308

"IE is impossible to prove jurisdiction exists absent a substantial nexus with the state such as
voluntary subscription to license. All jurisdictional facts supporting the claim that supposed jurisdiction

exists must appear on the record of the court."
Pipe Line v. Marathon, 102 S. Ct. 3858 quoting Crowell v. Benson 883 US 22

“Therefore, it is necessary that the record present the fact establishing the jurisdiction of the tribunal"
Lowe v. Alexander 15C 296; People v. Board of Delegates of S.F. Fire Dept 14 C 279

2. Jurisdiction Not Within Discretion of Court
Petitioner reminds this court that the matter of jurisdiction is not a matter within the discretion of this

court.

“A court has no jurisdiction to determine its own jurisdiction, for a basic issue in any case before a
tribunal is its power to act, and a court must have the authority to decide that question in the first

instance,”
Rescue Army yv. Municipal Court of Los Angeles, 171 P2d 8; 331 US 549, 91L. ed. 1666, 67 S.Ct.

1409.

A court “generally may not rule on the merits of a case without first determining that it has jurisdiction

over the category of claim in the suit (subject-matter jurisdiction) ... .”
Sinochem Int’! Co, Ltd. v. Malaysia Intl Shipping Corp., 549 U.S, 422, 430-31 (2007)

"The burden shifts to the court to prove jurisdiction."
Rosemond v. Lambert, 469 F2d 416.

"The proponent of the rule has the burden of proof.."
Title 5 U.S.C. §556(d)

3. Jurisdiction Cannot Be Waived
The principles of waiver, consent, and estoppel do not apply to jurisdictional issues—the actions of the
litigants cannot vest a district court with jurisdiction above the limitations provided by the Constitution

and Congress.

“If the record does not show upon its face the facts necessary to give jurisdiction, they will be

presumed not to have existed.”
Norman v. Zieber, 3 Orat202-03

4. Jurisdiction Can Be Raised At Any time
Federal Rule 12(h)(3) states that, “/f the court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action,” Fed. R. Civ. P. 12(h)(3).

"Jurisdiction can be challenged at any time." and "Jurisdiction, once challenged, cannot be assumed
and must be decided."

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Basso v. Utah Power & Light Co., 495 F2d 906, 910.

"Defense of lack of jurisdiction over the subject matter may be raised at any time, even on appeal."
Hill Top Developers v. Holiday Pines Service Corp., 478 So. 2d. 368 (Fla 2nd DCA 1985)

“The objection that a federal court lacks subject-matter jurisdiction may be raised by a party, or by a
court on its own initiative, at any stage in the litigation, even after trial and the entry of judgment.”

Arbaugh v. ¥ & H Corp., 546 U.S. 500, 506 (2006) (citations omitted) (Gurisdiction upheld); see also

Kontrick v. Ryan, 540 U.S. 443, 455 (2004)

On appeal—even for the first time at the Supreme Court—a party may attack jurisdiction after the

entry of Judgment in the district court.
Arbaugh v. Y &H Corp., 546 U.S. 500, 514 (2006).

Even the party that had invoked the district court’s Jurisdiction can argue on appeal, to avoid an
adverse judgment, that the district court lacked jurisdiction.
13 Wright & Miller § 3522, pp. 122-23

"Where the question of jurisdiction in the court of the person, the subject matter, or the place where
the crime was committed can be raised, in any stage of a criminal proceeding; it is never presumed,
but must always be proved; and it is never waved by the respondent.”

U.S, v. Rogers, District Court Ark.,23 Fed 658 1855

5. Acts by Court a Nullity
Petitioner notices this court that any action taken by the court absent proof of is a nullity.

"A universal principle as old as the law is that a proceedings of a court without jurisdiction are a nullity
and its Judgment therein without effect either on person or property.”
Norwood v. Renfield, 34 C 329; Ex parte Giambonini, 49 P. 732.

"Where there is absence of jurisdiction, all administrative and judicial proceedings are a nullity and
confer no right, offer no protection, and aftord no justitication, and may be rejected upon direct

collateral attack.”
Thompson v. Tolmie, 2 Pet. 157, 7 L.Ed. 381; Griffith v. Frazier, 8 Cr. 9, 3L, Ed. 471.

“Jurisdiction is fundamental and a judgment rendered by a court that does not have jurisdiction to

hear is void ab initio.”
In Re Application of Wyatt, 300 P. 132; Re Cavitt, 118 P2d 846,

"Thus, where a judicial tribunal has no jurisdiction of the subject matter on which it assumes to act, its
proceedings are absolutely void in the fullest sense of the term."
Dillon v. Dillon, 187 P 27.

6: LACK OF JURISDICTION: No witness, no facts, no jurisdiction.

“There is no discretion to ignore lack of jurisdiction.”
Joyce v. U.S., 474 F2d 215.

“No sanction can be imposed absent proof of jurisdiction.”
"Once challenged, jurisdiction cannot be ‘assumed; it must be proved to exist!"

Stanard v. Olesen, 74 S.Ct. 768

“Thus, where a judicial tribunal has no jurisdiction of the subject matter on which it assumes to act, its
proceedings are absolutely void in the fullest sense of the term.”

Dillon v. Dillon, 187 P 27.

OTHER CASE LAW ON JURISDICTIONAL CHALLENGES

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In regard to courts of inferior jurisdiction, “if the record does not show upon its face the facts
necessary to give jurisdiction, they will be presumed not to have existed.”
Norman v. Zieber, 3 Or at 202-03

“Where a person is not at the time a licensee, neither the agency, nor any official has any jurisdiction
of said person to consider or make any order. One ground as to want of jurisdiction was, accused was

not a licensee and it was not claimed that he was."
O'Neil v. Dept Prof. & Vocations 7 CA 2d 398; Eiseman v. Daugherty 6 CA 783

"A court cannot confer jurisdiction where none existed and cannot make a4 void proceeding valid. It is

clear and well established law that a void order can he challenged in any court”
OLD WAYNE MUT. L. ASSOC. v. MCDONOUGH, 204 U.S. 8, 27 S. Ct. 236 (1907).

“Court must prove on the record, all jurisdiction facts related to the jurisdiction asserted.”
Latana v. Hopper, 102 F. 2d 188; Chicago v. New York 37 F Supp. 150

“Where the question of jurisdiction in the court of the person, the subject matter, or the place where
the crime was committed can be raised, in any stage of a criminal proceeding; it is never presumed,
but must always be proved; and it is never waved by the respondent.”

U.S. v. Rogers, District Court Ark.,23 Fed 658 1855

“Therefore, it is necessary that the record present the fact establishing the jurisdiction of the tribunal"
Lowe v, Alexander 15C 296; People v. Board of Delegates of S.F. Fire Dept 14 C 279

"It is basic in our law that an administrative agency may act only within the area of jurisdiction
marked out for it by law. If an individual does not come within the coverage of the particular agency's
enabling legislation the agency is without power to take any action which affects him."

Endicott v. Perkins, 317 US 501

“If the court is not in the exercise of its general Jurisdiction, but of some special statutory jurisdiction,
it is as to such preceding an inferior court, and not aided by presumption in favor of jurisdiction.”
1 Smith's Leading Cases, 816

“Inferior courts” are those whose jurisdiction is limited and special and whose proceedings are not

according to the course of the common law.”
Ex Parte Kearny, 55 Cal. 212; Smith v. Andrews, 6 Cal. 652

JURISDICTION

I am here by way of Special Appearance to challenge jurisdiction and to have this matter dismissed.

This court has assumed jurisdiction over me for almost months. I believe this court lacks
jurisdiction,
It's about time the court proves the stance it's taken for almost months,

1. I want to see the supposed jurisdiction duly placed into evidence. In the copy of the file I have it is

nonexistent.
2, I don't believe this court can produce a competent witness against me almost

the citation was issued,

months after

3, I don't believe this court can produce the citations' issuing officer after almost months,
4, I don't believe this court has a valid cause of action against me.
5, I don't believe this court has any evidence against me, except a citation that is almost months

old, signed under threat, duress and coercion (threat of arrest, incarceration).
This court has no evidence against me.

Case 3:23-cv-00717 Documenti Filed 07/19/23. Page 20 of 31 PagelD #: 20

 
This court must prove jurisdiction.

WHEREAS, respondent petitions this court for dismissal of this action and release/removal if any of the
bench warrants that has been open for respondents arrest for___ _ months.

All Rights Reserved,

Soneh™ Wendell ; [Pp lt SUL we “¢ [4 (1 [wx VIX

Lo oh TN Affiant/Declarant Date

NOTARY STATEMENT

In the State of lv INES C @
County of Daw do nv

q te ys /
I swear that on th’ day of _< UW , 2022 the above named Affiant/Declarant,
Toned Lente fi: Ahly Hhsrcoly appeared before me, and of her own free will, signed

and executed this Notice of Special Appearance by Affidavit.

 

Notary Public

My Commission Expires:

Seal:

Case 3:23-cv-00717 Document1i - Filed 07/19/23 Page 21 of 31 PagelD #: 21

 
, IN CIRCUIT COURT
ot Genera | Sesspons

[ af Te emit S§ee Davidson, County Tennessee
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Tora eal: AM \eoOL @ Bl GEy
RURAL i VGRY
on DersOTE GTN £00080) Ce ea 96 TT SF

Case Number

 

AFFIDAVIT

The original indigenous sovereign divine jure Moorish national republic federal is the law and is
the standing government at north America/ ancient morocco/amexem/northwest Africa/the
north gate. We are capitis nolo, in propria persona, in proprio solo, and in proprio heredes and
we are exercising all of our sovereign rights at this time and at all times. All foreigners on our
land are commanded to state their names and nationality for the record with no further
comments at the sight of the nobility of the land. No foreigners on our ancestral inherited
estate at all points in time. We are the heirs to all land, all natural resources, and all commerce
on our land. We have the longest standing treaty on record for the United States with our

_ Treaty of Peace and Friendship 1786 and 1836 which was last signed by Ronald Reagan in 1986
for 50 more years. Our ancestors wrote the constitution for the United States 1789 and 1791
and gave it to George Washington and Thomas Jefferson. (See HR 331, 100th Congress, 2nd
Session). We have declared peace on our home land of America.

State of Tennessee

County of Davidson

SUBCRIBED TO AND SWORN ee Wendell Ah \es TL

Mh .
BEFORE ME, this, it~ day of July - (Signature) (4
CP prakudsee)

Jonah Phillips EL

Signature, (SEAL)
Notary Public

My Commission Expires:

Case 3:23-cv-00717 Document1i - Filed 07/19/23 Page 22 of 31 PagelD #: 22

 
 

COMPLAINT NUMBER: 2023-0008835 WARRANT NUMBER: GS986992

PROSECUTOR: Kaytlin M Huyler
DEFENDANT: Jonah Wendell Phillips

VICTIM:
STATE OF TENNESSEE, COUNTY OF DAVIDSON
AFFIDAVIT
FELONY DRUG OFFENSE
T.C.A. 39-17-417

Personally observed before me, the undersigned, [Select one] | X_ Commissioner ___ Metropolitan General Sessions
Judge, the prosecutor named above and made oath in due form of law that [Select one] he _X___ she [Select one]
_X__ personally observed _ has probable cause to believe that the defendant named above on 01/05/2023 in Davidson
County unlawfully and knowingly did [Select one] _sell__—sdeliver___—s manufacture _X___ possess with intent to sell,

deliver, or manufacture a controlled substance and that she probable cause is as follows:

ON 01/05/2023 OFFICERS ENCOUNTERED THE DEFENDANT ON LAFAYETTE ST AT LINCOLN AVE AND HE
WAS KNOWN TO HAVE AN OUTSTANDING WARRANT. WHEN OFFICERS ATTEMPTED TO TAKE THE
DEFENDANT INTO CUSTODY, HE WAS INSTRUCTED TO STOP AND PLACE HIS HANDS BEHIND HIS BACK.
THE DEFENDANT REFUSED OFFICERS COMMANDS TO STOP AND CONTINUED PEDDLING HIS BIKE
AWAY FROM POLICE. OFFICERS STOPPED HIM FROM RIDING AWAY BY GRABBING A HOLD OF HIS
WRIST AS THE DEFENDANT CONTINUED ACTIVELY RESISTING WHILE PULLING AWAY. POLICE PLACED
THE DEFENDANT INTO CUSTODY ONCE HE WAS LOWERED TO THE GROUND. UPON SEARCH INCIDENT
TO ARREST 22 GRAMS OF MARIJUANA, A SCALE, $264 CASH (US CURRENCY) WAS DISCOVERED ON
HIS PERSON. THE ARREST TOOK PLACE IN CAMERON PREP SCHOOL ZONE. THE DEFENDANT WAS
TRANSPORTED TO BOOKING WITHOUT FURTHER INCIDENT.

i Sighaiare

 

Prosecutor: Kaytlin M Huyler 290826
600 Murfreesboro Road {STATION_ASSIGNED}

Nashville, Tennessee 37210

 

 

ARREST WARRANT why

 

Information on oath having been made, that on the day and year aforesaid, and in the County aforesaid, the offense

of Poss.w/Int-Cont.Sub.- Marijuana 14.175-4,535 gr. E FELONY, as aforesaid, has been committed and charging the
defendant thereof, you are therefore commanded, in the name of the State, forthwith to arrest and bring the defendant
before a judge of the Court of General Sessions of Davidson County, Tennessee, to answer the above charge.

Sworn to and subscribed before me on 01/05/2023 11:44:30.

 

Carolyn Piphus
Judge of the Metropolitan General Sessions Court/Commissioner

If the defendant's charge is dismissed, a no true bill is returned by a grand jury, the defendant is arrested and released without
being charged with an offense, or the court enters a nolle prosequi in the defendant's case, the defendant is entitled, upon
petition by the defendant to the court having jurisdiction over the action, to the removal and destruction of all public records
relating to the case without cost to the defendant.

Case 3:23-cv-00717 Document 1! “F#d#897/19/23 Page 23 of 31 PagelD #: 23

 
COMPLAINT NUMBER: 2023-0008835 WARRANT NUMBER: GS986994

PROSECUTOR: Kaytlin M Huyler
DEFENDANT: Jonah Wendell Phillips

VICTIM:
STATE OF TENNESSEE, COUNTY OF DAVIDSON
AFFIDAVIT
Resisting Stop, Frisk, Halt, Arrest, or Search
39-16-602* 1
Personally appeared before me, the undersigned, [Select one] x Commissioner, _ Metropolitan General Sessions Judge ,
the prosecutor named above and made oath in due form of law that [Select one] she | x_ shé-{Select oné]3; x_

personally observed has probable cause to believe that the defendant named above on 01/05/2023, in Davidson Gounty;

did intentionally prevent or obstruct a person known to the defendant to be a law enforcement officer or anyone acting inalaw “

enforcement officer's presence and at such officer's direction from effecting a [Select one] __ stop _frisk halt
arrest or _ search of any person, including the defendant, by using force against said law enforcement officer or Fanothersn

|

The probable cause is as follows:

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ON 01/05/2023 OFFICERS ENCOUNTERED THE DEFENDANT ON LAFAYETTE ST AT LINCOLN AVE AND: HE on
WAS KNOWN TO HAVE AN OUTSTANDING WARRANT. WHEN OFFICERS ATTEMPTED TO TAKE THE:: 2 os
DEFENDANT INTO CUSTODY, HE WAS INSTRUCTED TO STOP AND PLACE HIS HANDS BEHIND HIS
BACK. THE DEFENDANT REFUSED OFFICERS COMMANDS TO STOP AND CONTINUED:PEDDLING; HIS
BIKE AWAY FROM POLICE, OFFICERS STOPPED HIM FROM RIDING AWAY BY GRABBING:A HOLD
OF HIS WRIST AS THE DEFENDANT CONTINUED ACTIVELY RESISTING WHILE PULLING AWAY;.-
POLICE PLACED THE DEFENDANT INTO CUSTODY ONCE HE WAS LOWERED TO THE GROUND, UPON:
SEARCH INCIDENT TO ARREST 22 GRAMS OF MARIJUANA, A SCALE, $264 CASH (US CURRENCY) WAS,
DISCOVERED ON HIS PERSON. THE ARREST TOOK PLACE IN CAMERON PREP SCHOOL ZONE. THE
DEFENDANT WAS TRANSPORTED TO BOOKING WITHOUT FURTHER INCIDENT.

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Prosecutor: Kaytlin M Huyler 290826 . ys
600 Murfreesboro Road {STATION_ASSIGNED} Ios

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Lact

Nashville, Tennessee 37210

 

 

ARREST WARRANT

 

Information on oath having been made, that on the day and year aforesaid, and in the County aforesaid, the offense

of Resisting Stop, Frisk, Halt, Arrest, or Search B MISD, as aforesaid, has been committed and charging the defendant
thereof, you are therefore commanded, in the name of the State, forthwith to arrest and bring the defendant before a judge of
the Court of General Sessions of Davidson County, Tennessee, to answer the above charge.

; Pere 01/05/2023 11:45:56.

 
  

Cara
Sworn to and tO

 

Carolyn* Piphtts
Judge of the Metropolitan General Sessions Court/Commissioner

If the defendant's charge is dismissed, a no true bill is returned by a grand jury, the defendant is arrested and released without
being charged with an offense, or the court enters a nolle prosequi in the defendant's case, the defendant is entitled, upon
petition by the defendant to the court having jurisdiction over the action, to the removal and destruction of all public records

1 of 2 pages ORIGINAL
Case 3:23-cv-00717 Document1 Filed 07/19/23 Page 24 of 31 PagelD #: 24

 

Ww

 
COMPLAINT NUMBER: 2023-0008835

PROSECUTOR: Kaytlin M Huyler
DEFENDANT: Jonah Wendell Phillips
VICTIM:

WARRANT NUMBER: GS986994

relating to the case without cost to the defendant.

Case 3:23-cv-00717

2o0f2 pages ORIGINAL

Document 1

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COMPLAINT NUMBER: 2023-0008835 WARRANT NUMBER: GS986995

PROSECUTOR: Kaytlin M Huyler
DEFENDANT: Jonah Wendell Phillips

 

VICTIM:
STATE OF TENNESSEE, COUNTY OF DAVIDSON
AFFIDAVIT
Evading Arrest
39-16-603(a)
Personally appeared before me, the undersigned, [Select one] ___X_ Commissioner, _ Metropolitan General Sessions Judge,
the prosecutor named above and made oath in due form of law that [Select one] ____ he _X___ she [Select one] _ X

personally observed ___-has probable cause to believe that the defendant named above on 01/05/2023, in Davidson County did
intentionally conceal themselves or flee by any means of locomotion from anyone the defendant knows to be a law
enforcement officer if the defendant knows that the officer is attempting to arrest the defendant or the defendant has been
arrested.

The probable cause is as follows:

ON 01/05/2023 OFFICERS ENCOUNTERED THE DEFENDANT ON LAFAYETTE ST AT LINCOLN AVE AND HE
WAS KNOWN TO HAVE AN OUTSTANDING WARRANT. WHEN OFFICERS ATTEMPTED TO TAKE THE
DEFENDANT INTO CUSTODY, HE WAS INSTRUCTED TO STOP AND PLACE HIS HANDS BEHIND HIS

BACK. THE DEFENDANT REFUSED OFFICERS COMMANDS TO STOP AND CONTINUED-PEDDLING HIS
BIKE AWAY FROM POLICE. OFFICERS STOPPED HIM FROM RIDING AWAY BY GRABBING A HOLD;GF HIS
WRIST AS THE DEFENDANT CONTINUED ACTIVELY RESISTING WHILE PULLING AWAY. POLICE PLACED - ~
THE DEFENDANT INTO CUSTODY: ONCE HE WAS LOWERED TO THE GROUND. UPON SEARCH INCIDENT :
TO ARREST 22 GRAMS OF MARIJUANA, A SCALE, $264 CASH (US CURRENCY) WAS DISCOVERED ON HIS
PERSON. THE ARREST TOOK PLACE IN CAMERON PREP SCHOOL ZONE. THE DEFENDANT WAS. -

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of Ne

 

TRANSPORTED TO BOOKING WITHOUT FURTHER INCIDENT. =O _
ESignature J /
LALA 4B

Prosecutor: Kayélin M Huyler 290826
600 Murfreesboro Road {STATION_ASSIGNED}

Nashville, Tennessee 37210

 

 

ARREST WARRANT

 

Information on oath having been made, that on the day and year aforesaid, and in the County aforesaid, the offense

of Evading Arrest A MISD, as aforesaid, has been committed and charging the defendant thereof, you are therefore
commanded, in the name of the State, forthwith to arrest and bring the defendant before a judge of the Court of General
Sessions of Davidson County, Tennessee, to answer the above charge.

 
 
  

 

Sworn tqand subscribed before me on 01/05/2023 11:46:36. es
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Carolyh Pibhus
Judge of the Metropolitan General Sessions Court/Commissioner eh

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If the defendant's. charge is dismissed, a no true bill is returned by a grand jury, the defendants arrested and:xeléased without
being charged with an offense, or the court enters a nolle prosequi in the defendant's case, the defendants entitled, upon
petition by the defendant to the court having jurisdiction over the action, to the removal and despfucti n of all public-records

relating to the case without cost to the defendant

lof2 pages ORIGINAL “ot
Case 3:23-cv-00717 Documenti Filed 07/19/23 Page 26 of 31 PagelD #: 26

 
COMPLAINT NUMBER: 2023-0008835 WARRANT NUMBER: GS986995

PROSECUTOR: Kaytlin M Huyler
DEFENDANT: Jonah Wendell Phillips
VICTIM:

2of2 pages ORIGINAL
Case 3:23-cv-00717 Document1i Filed 07/19/23 Page 27 of 31 PagelD #: 27

 
COMPLAINT NUMBER: 2023-0289855 WARRANT NUMBER: GS998843

PROSECUTOR: Hendrik J Kruger

   

DEFENDANT: Jonah Phillips OTT IS
VICTIM: DENEIKA CARPENTER fn AON

 

 

 

STATE OF TENNESSEE, COUNTY OF DAVIDSON
AFFIDAVIT
Photography- Dissemination of Unl. Photos
39-13-605 .

Personally appeared before me, the undersigned, [Select one] | X_ Commissioner _ Metropolitan General Sessions Judge,
the prosecutor named above and made oath in due form of law that [Select one] X__ he __ she [Select one] __ personally
observed X__ has probable cause to believe that the defendant named above on 05/17/2023 in Davidson County, did
unlawfully [Enter brief description of the offense]

and that the probable cause is as follows:

ON 05/17/2023 OFFICERS WERE DISPATCHED TO 810 17TH AVE N UNIT 212 IN REGARDS TO A DOMESTIC
DISTURBANCE CALL FOR SERVICE. WHEN OFFICERS ARRIVED TO THE SCENE OFFICERS WERE MET BY
THE DEFENDANT WHO TOLD OFFICERS THEY WERE NOT ALLOWED TO WALK CLOSER TO HIM BECAUSE
HE DID NOT CONSENT. THE VICTIM OPENED THE DOOR TO UNIT 212 AND ALLOWED OFFICERS INSIDE TO
EXPLAINED THE INCIDENT. THE VICTIM STATED THAT THE INCIDENT STARTED WHEN SHE REFUSED TO
GIVE THE DEFENDANT THE KEYS TO HER VEHICLE, THE DEFENDANT RESPONDED BY TAKING OUT HIS
PHONE TO RECORD THE VICTIM. AT THE TIME THE VICTIM DID NOT KNOW THAT SHE WAS BEING
RECORDED BY THE DEFENDANT. THE VICTIM STATED THAT SHE WAS ADVISED BY A FRIEND THAT THE
DEFENDANT POSTED A FACEBOOK LIVE VIDEO OF THE VICTIM WHILE SHE WAS BREAST FEEDING HER 7
DAY OLD CHILD. WHEN THE VICTIM LEARNED OF THE FACEBOOK LIVE RECORDING, SHE SCREEN
RECORDED THE FOOTAGE TO SHOW OFFICERS. IN THE FOOTAGE OFFICERS OBSERVED THE VICTIM BEING
RECORDED NY THE DEFENDANT. OFFICERS OBSERVED THE VICTIM BREAST FEEDING HER CHILD WITH
HER BREAST EXPOSED TO THE FACEBOOK LIVE VIDEO. WHILE THE DEFENDANT WAS RECORDING THE
FOOTAGE, HE FLIPPED THE CAMERA AROUND SHOWING HIS FACE TO THE CAMERA GIVING OFFICERS THE
EVIDENCE THAT THE DEFENDANT WAS THE PARTY RECORDING THE VICTIM. WHEN OFFICERS ASKED THE
VICTIM HOW SHE FELT ABOUT THE FOOTAGE SHE STATED THAT SHE FELT EXPOSED AND EMBARRASSED.
THE VICTIM ALSO STATED TO OFFICERS THAT SHE DID NOT KNOW THAT THE DEFENDANT WAS
RECORDING HER VIA FACEBOOK LIVE. THE FOOTAGE ALSO SHOWS THE DEFENDANT TAGGING THE
VICTIMS FACEBOOKS ACCOUNT ON THE LIVE FOOTAGE AND CALLING OUT THE VICTIM BY HER NAME.
DUE TO THE FOOTAGE THAT THE VICTIM SHOWED OFFICERS, OFFICERS HAD PROBABLE CAUSE TO MAKE
AN ARREST ON HER BEHALF DUE TO THE VICTIM HAVING AN EXPECTAIOQN .OF. PRIVACY IN HER
RESIDENCE. aG ay

    

 

 

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ARREST WARRANT

 

Information on oath having been made, that on the day and year aforesaid, and in the County aforesaid, the offense
of Photography- Dissemination of Unl. Photos E FELONY, as aforesaid, has been committed and charging the defendant

thereof, you are therefore commanded, in the name of the State, forthwith to arrest and bring the defendant before a judge of

the Court of General Sessions of Davidson County, Tennessee, to answer the above charge.

Case 3:23-cv-00717

Document 1

ORIGINAL
Filed 07/19/23

1 of 2 pages

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COMPLAINT NUMBER: 2023-0289855 WARRANT NUMBER: GS998843

PROSECUTOR: Hendrik J Kruger
DEFENDANT: Jonah Phillips
VICTIM: DENEIKA CARPENTER

Sworn to and subscribed before me on 05/17/2023 20:49:36.

OP CB LE Olen D. Winningham

Olen D Winningham Kd, Judicial Magistrate
i

Judge of the Metropolitan General Sessions Court/Commissioner

If the defendant's charge is dismissed, a no true bill is returned by a grand jury, the defendant is arrested and released without
being charged with an offense, or the court enters a nolle prosequi in the defendant's case, the defendant is entitled, upon
petition by the defendant to the court having jurisdiction over the action, to the removal and destruction of all public records

relating to the case without cost to the defendant,

2 o0f2 pages ORIGINAL

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Date: 07/18/2023 Time: 12:18

Page 1 of 2
Criminal Case Summary

STATE OF TENNESSEE vs. Phillips
Case #: 2023-B-1170

 

Case Name: STATE OF TENNESSEE vs. Phillips

Case Status: OPEN
Case Sub Type: IND

Next Court Date: 07/19/2023
Case Filing Date: 06/14/2023
Judge: Blackburn, Cheryl

 

Defendant :

Phillips, Jonah W.

 

Defendant Information:

Name: Phillips, Jonah Wendell
Date Of Birth: 04/17/1986
Race: Black
Address: 810 17th Ave N,
Phone: (615) 231-0305

Disposition:
Bond Company: On Time Bail Bonds

Court Costs Paid:

OCA: 308812
Gender: Male
Height: 6'1" Weight: 195 Ibs. Eye Color: Brown
City: Nashville State: TN Zip: 37203 -
POC Name: POC #:
Disposition Date: Disposition By:
Amount Set: $8,000.00 Amount Posted: $8,000.00

Court Costs Owed:

 

Charging Instrument Information:

 

Defendant Charge# TCA TCA Description Offense Date Range Offense Type Offense Class
Phillips, Jonah WendiGS986992 39-17-417 Poss.w/Int-Cont.Sub.- Marijuana 1-01/08/2023 to 01/05/2023 FELONY E
Phillips, Jonah Wend: GS986993 39-17-425 Drug Paraphernalia- Unlawful Use 01/05/2023 to 01/05/2023 MISD A
Phillips, Jonah Wendi GS986994 39-16-602 Resisting Stop, Frisk, Halt, Arrest, «01/05/2023 to 01/05/2023 MISD B
Phillips, Jonah WendiGS986995 39-16-603 Evading Arrest 01/05/2023 to 01/05/2023 MISD A
Counts:

Count# Defendant TCA TCA Description Offense Date Range Offense Type Offense Class

1 Phillips, Jonah Wet 39-17-417
2 Phillips, Jonah Wer 39-17-425
3 Phillips, Jonah Wet 39-16-603
4 Phillips, Jonah Wet 39-16-602

Poss.w/Int-Cont.Sub.- Marijuana 14.175-¢ 01/05/2023 to 01/05/2023 FELONY E
Drug Paraphernalia- Uniawful Use 01/05/2023 to 01/05/2023 MISD A
Evading Arrest 01/05/2023 to 01/05/2023 MISD A
Resisting Stop, Frisk, Halt, Arrest, or Sea 01/05/2023 to 01/05/2023 MISD B

 

Events:

Filing Date Description
Defendant: Jonah Wendell Phillips

05/31/2023 Jail Release

05/31/2023 Bond Posted
05/31/2023 Bond Posted
05/31/2023 Bond Posted
05/31/2023 Bond Posted
05/31/2023  Mittimus for Appearance
05/31/2023 Bond Set

Bond Made - Jail Release

Fo 2%
Fengar®

 

Bond Surrender Se
Bond set transferred TO CC CASE 2023-B-1170, Amount: 8000 °

 

Scheduled Appearances:

Session Date Start Time

Judge

Court Room Docket Type Defendant

 

07/19/2023 09:00 AM Blackburn, Cheryl Birch Bldg, Court Room 6C Arraignment - Criminal Court Phillips, Jonah Wendell
Court Attorneys:
Attorney Name Party Name Role End Date
Kelly, Kevin Phillips, Jonah Wendell Private Counsel 00/00/0000

Case 3:23-cv-00717

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Date: 07/18/2023 Time: 12:18 Page 2 of 2

Criminal Case Summary
STATE OF TENNESSEE vs. Phillips
Case #: 2023-B-1170

 

Case Name: STATE OF TENNESSEE vs. Phillips Next Court Date: 07/19/2023
Case Status: OPEN Case Filing Date: 06/14/2023
Case Sub Type: IND Judge: Blackburn, Cheryl

 

 

Case Parties:

Name Role Victim Type
Cunningham, Eric WITNESS | Prosecution Witness
Huyler, Kaytlin M WITNESS | Prosecutor
Kedzierski, Jason T WITNESS i | Prosecution Witness
Luther li, Roger L WITNESS [| Prosecution Witness

 

Case 3:23-cv-00717 Document1i - Filed 07/19/23 Page 31 of 31 PagelD #: 31

 
